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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Venessa Vaughan,                                  No. CV-24-00830-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   Commissioner of Social Security
     Administration,
13
                    Defendant.
14
15          Before the Court is the parties’ Stipulated Motion for Remand (Doc. 11). According
16   to the parties’ stipulation, this action is remanded under section 205(g) of the Social
17   Security Act, as amended, 42 U.S.C. § 405(g), sentence four.
18          On remand, the Acting Commissioner of Social Security (“Commissioner”) will
19   remand the case to an administrative law judge (“ALJ”) for further administrative
20   proceedings. The ALJ will offer Plaintiff an opportunity for a new hearing, further develop
21   the record as necessary, and issue a new decision.
22          Accordingly,
23          IT IS HEREBY ORDERED that the parties’ Stipulated Motion for Remand
24   (Doc. 11) is GRANTED. The matter is remanded to the Social Security Administration.
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26   ///
27   ///
28   ///
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 1         IT IS FURTHER ORDERED that the Clerk of the Court is directed to enter a final
 2   judgment in favor of Plaintiff and against the Commissioner, reversing the final decision
 3   of the Commissioner.
 4                Dated this 14th day of June, 2024.
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 6
 7                                              Honorable Diane J. Humetewa
 8                                              United States District Judge

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